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AO 91 (Rev. 11/11) Criminal Complaint(approved by AUSASchlessinger)                                        18-036



                                    UNITED STATES DISTRICT COURT
                                                                      forthe
                                                  Eastern District of Pennsylvania

                  United States of America                              )
                               v.                                       )
                                                                        )       Case No.
                          Liam Heim                                     )
                                                                        )
                                                                        )
                                                                        )
                         Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   March 29, 2018                    in the county of             Philadelphia       in the
        Eastern       District of         Pennsylvania            , the defendant(s) violated:

            Code Section                                                          Offense Description
          18 U.S.C. § 2423(a)                 Transportation of Minor to Engage in Criminal Sexual Activity.
          18 U.S.C. § 2423(b)                 Interstate Travel to Engage in Illicit Sexual Conduct.




          This criminal complaint is based on these facts:


                      SEE ATIACHED AFFIDAVIT




          !YI' Continued on the attached sheet.


                                                                                                   Complainant's signature

                                                                                                  HSI S/A Joshua Conrad
                                                                                                    Printed name and title

Sworn to before me and signed in my presence.


Date:
                                                                                                     Judge 's signature

City and state:                      Philadelphia, PA

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                                                                                            Hon. Timothy R. Rice, USMJ

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                    Case 2:18-cr-00174-PBT Document 1 Filed 04/02/18 Page 2 of 9

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          This criminal complaint is based on these facts:


                       SEE ATTACHED AFFIDAVIT




          ~ Continued on the attached sheet.




                                                                                                    HSI S/A Joshua Conrad
                                                                                                      Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state:                       Philadelphia, PA                                        Hon. Timothy R. Rice, USMJ
                                                                                                      Printed name and title
             Case 2:18-cr-00174-PBT Document 1 Filed 04/02/18 Page 3 of 9



                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

        I, Joshua Conrad, a Special Agent (SA) with Homeland Security Investigations (HSI),

being duly sworn, depose and state as follows:

                                        INTRODUCTION

        1.      I am a Special Agent with the Department of Homeland Security, Immigration

and Customs Enforcement, Homeland Security Investigations ("HSI"), assigned to the Special

Agent in Charge in Philadelphia, PA and I have been so employed since April, 2016. Prior to

that, I was assigned to the Special Agent in Charge in El Paso, Texas since October 2010. As

part of my daily duties as an HSI agent, I investigate criminal violations relating to child

exploitation and child pornography, including violations pertaining to transportation of a minor

in interstate commerce with the intent to engage in sexual activity, and interstate travel with the

intent to engage in illicit sexual conduct, in violation of 18 U.S.C. §§ 2423(a) and 2423(b). I

have had the opportunity to observe and review numerous examples of child pornography (as

defined in 18 U.S.C. § 2256) in all forms of media including computer media. I have also

participated in the execution of numerous search warrants, a number of which involved child

exploitation and/or child pornography offenses.

       2.       This affidavit is made in support of a criminal complaint charging Liam HEIM

with: 1) transportation of a minor to engage in criminal sexual activity, in violation of 18 U.S.C.

§ 2423(a); and 2) travel in interstate commerce with intent to engage in-illicit sexual conduct, in

violation of 18 U.S.C. § 2423(b).

       3.       I am familiar with the information contained in this Affidavit based upon the

investigation I have conducted, and based on my conversations with other law enforcement
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officers who have engaged in numerous investigations involving child exploitation, and with

other witnesses.

        4.      Because this Affidavit is being submitted for the limited purpose of demonstrating

probable cause in support if the attached criminal complaint, I have not included each and every

fact known to me concerning this investigation. I have set forth only those facts that I believe

are necessary to establish probable cause.

                                      STATUTORY AUTHORITY


       5.       Title 18 U.S.C. § 2423(a) makes it a federal crime for a person to knowingly

transport an individual who has not attained the age of 18 years in interstate commerce, or in any

commonwealth, territory or possession of the United States, with intent that the individual

engage in any sexual activity (defined under federal law to include oral sex - contact between the

mouth and penis, or between the mouth and vulva) for which any person can be charged with a

criminal offense.

       6.       Title 18 U.S.C. § 2423(b) makes it a federal crime for anyone to travel in

interstate or foreign commerce for the purpose of engaging in any illicit sexual conduct with any

person. "Illicit sexual conduct" is defined under this section as any sexual act (defined under

federal law to include oral sex - contact between the mouth and penis, or between the mouth and

vulva) with a person under the age of 18 years that would be a violation of Chapter 109A if it

were to occur in the United States. Among other sexual crimes against minors, Chapter 109A in

the United States Code includes violations of 18 U.S.C. § 2243, which makes it a criminal

offense to knowingly engage in a sexual act with a minor, that is a person who has not attained

the age of 16 years, and who is at least four years younger than the person so engaging.
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                         BACKGROUND OF THE INVESTIGATION

        7.      On March 31, 2018, I received a call from Sergeant Brian King from the

Philadelphia Police Department Special Victims Unit, regarding an individual that had traveled

from the State of Florida to meet up with a 12- year old girl he had met on a website entitled

Discordapp.com. The individual, Liam HEIM (a 21-year-old male), met the 12-year old girl in

Collingswood, New Jersey. HEIM transported the minor into Philadelphia, Pennsylvania via

train. HEIM and the minor female then took an Uber to an Extended Stay America hotel near

Philadelphia International Airport.

        8.      The minor victim's parents previously filed a missing child report with the

Collingswood Police Department on March 29, 2018. Collingswood Police Department

contacted the Camden County Prosecutor's Office on March 30, 2018. The Collingswood Police

Department initiated a ping order on the minor child's phone, and the Collingswood Police

Department, along with the Camden County Prosecutor's Office, initiated a ping order on

HEIM's cellular phone as well. The ping order on HEIM's phone indicated that the phone was

located at the Extended Stay America hotel near Philadelphia International Airport. The Camden

County Prosecutor's Office, along with the Philadelphia Police Department, and the

Collingswood Police Department traveled to the hotel and contacted the hotel staff. Hotel staff

directed law enforcement to room 227, where officers encountered HEIM and the minor child.

HEIM was taken into custody and the minor was taken for medical examination and a forensic

interview.

       9.       HEIM was interviewed by Camden County Prosecutor's Office, Collingswood,

New Jersey Police Department and the Philadelphia Police Department. The interview was
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audio recorded. HEIM was read his Miranda rights, waived them in writing, and agreed to speak

with police regarding the investigation.

        10.      HEIM stated that he lives in Gulfport, Florida, and that he met the 12-year old

minor on a website called Discordapp.com.

        11.      HEIM stated that he was the leader/creator of a group on this website and that the

12-year-old victim who had been located with him in the hotel room was one of the members of

the group. HEIM stated that he began chatting with the minor approximately one and a half months

ago. HEIM stated that he knew it wasn't right to talk to her because of her age. HEIM thought

their communications were over, but the minor continued to flirt with him. HEIM stated that he

would talk with her everyday via the website group. HEIM stated that they decided to make their

relationship official and started dating online. Other Discordapp group members told HEIM that

his behavior was inappropriate because of the minor's age and HEIM agreed, but found it difficult

to say no to her.

        12.      HEIM and the minor began texting and video chatting. Some of the conversations

became sexual in nature. HEIM stated that the minor sent him provocative photos of her in a bra

and one of her in her panties. HEIM stated that he didn't ask for them, but didn't discourage the

behavior, because he didn't want to mess things up. (In a subsequent audio/video-recorded

interview with HSI agents, HEIM admitted that he found the photos sexually arousing, and that he

masturbated to them.) HEIM stated that he did not send any provocative photos of himself.

       13.       HEIM stated that the minor wanted to meet him, so he agreed to come meet her.

HEIM took a flight from Florida to Philadelphia, and then took an Uber to a diner in Collingswood,

New Jersey to meet the minor. (In a subsequent audio/video-recorded interview with HSI agents,

HEIM admitted that when he traveled from Florida to Philadelphia, he did so with the hope and
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intention of engaging in sexual activity with the 12-year-old victim, although not necessarily

sexual intercourse.)     HEIM and the minor walked to a train station and took a train into

Philadelphia, Pennsylvania. HEIM stated that he felt they would end up staying together. HEIM

stated that he and the minor went to eat at a restaurant and walked around the city. HEIM stated

that he and the minor then took an Uber to a hotel just outside of Philadelphia. HEIM stated that

he and the minor were at the hotel for approximately thirty-six (36) hours.

        14.      HEIM stated that while they were at the hotel they hugged and kissed each other

numerous times. HEIM stated that he felt like this was wrong and that he wished he had said no

to her requests and her affection. HEIM stated that he might as well try even if it was wrong.

        15.      HEIM stated that he did not have sexual intercourse with the minor, but they

engaged in oral sex. HEIM stated that he put his mouth on her vagina and stimulated her until she

felt satisfied. HEIM stated that he performed oral sex on the minor victim two (2) to three (3)

times. HEIM stated that he also kissed her stomach, breasts, and neck.

        16.      HEIM stated that he and the minor were close several times to engaging in vaginal

intercourse, but they did not. HEIM stated that he digitally penetrated her vagina approximately

two (2) times.

        17.      HEIM stated that the minor kissed his penis and that she sucked on his penis briefly,

but he did not ejaculate.

        18.      HEIM stated that he traveled with a suitcase containing clothes, a phone, laptop,

charger, and a binder, which contained representations of his visions and thoughts.

       19.       After the minor victim received medical treatment and evaluation, a forensic

interview of the victim was conducted. The minor victim acknowledged during the interview that

she and HEIM engaged in sexual activity.
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        20.     I obtained screen shots from some of the conversations in the group chat on

Discordapp.com that included HEIM and the 12-year old child. In the group chat, HEIM referred

to the child's age as 13 years old (instead of her true age of 12 years). He also "publicly" professed

his love for her in the group chat, recognizing the fact that she was underage but telling the group

to "deal with bitches."


                                            CONCLUSION

        21.    Based on the foregoing, I respectfully submit that there is probable cause to believe

that Liam HEIM has committed the following federal offenses: 1) transportation of a minor to

engage in criminal sexual activity, in violation of 18 U.S.C. § 2423(a); and 2) travel in interstate

commerce with intent to engage in illicit sexual conduct, in violation of 18 U.S.C. § 2423(b). I

therefore respectfully request that the Court issue the attached complaint charging HEIM with

those offenses, and issue the attached warrant for his arrest.




                                                                 Joshua Conrad, Special Agent
                                                                 Homeland Security Investigations
Sworn and subscribed
before me this 31st day of
March, 2018.



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HONORABLE TIMOTHY R. RICE
UNITED s:~TES MAGISTRATE JUDGE                  r
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HONORABLE TIMO HY R. CE
UNITED STATES MAGISTRATE JUDGE
